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                            UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                      Miami Division
                                    www.flsb.uscourts.gov

In re:                                                     Chapter 11

FF FUND I, L.P.,                                           Case No. 19-22744-BKC-LMI
F5 BUSINESS INVESTMENT PARTNERS, LLC,                      Case No. 20-10996-BKC-LMI

                 Debtors.                                  (Jointly Administered Under Case
                                                           No. 19-22744-BKC-LMI)
___________________________________________/

SONEET R. KAPILA not individually but                      ADV. NO.
as Liquidating Trustee of the FF FUND
LIQUIDATING TRUST and the F5
LIQUIDATING TRUST,

         Plaintiff,
v.

KLOE KORBY, an individual,

         Defendants.
                                           /

                        ADVERSARY COMPLAINT TO AVOID AND
                         RECOVER FRAUDULENT TRANSFERS

         SONEET R. KAPILA, as Liquidating Trustee (the “Trustee” or “Plaintiff”) of the FF

FUND LIQUIDATING TRUST (the “FF Fund Trust”) as successor to FF FUND I, L.P. (the “FF

Fund Debtor”) and the F5 LIQUIDATNG TRUST (the “F5 Trust”) as successor to F5

BUSINESS INVESTMEMT PARTNERS, LLC (the “F5 Debtor”) files this Adversary

Complaint against KLOE KORBY, an individual (“Korby” or the “Defendant”), to avoid and to

recover direct and/or indirect fraudulent transfers made to the Defendant and for other relief

pursuant to Sections 544, 548, and 550 of Title 11 of the United States Code (the “Bankruptcy

Code”), Chapter 726 of the Florida Statutes, Rule 7001, et seq. of the Federal Rules of



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Bankruptcy Procedure and federal common law, and says:

                           THE PARTIES, JURISDICTION AND VENUE

       1.     On September 24, 2019 (the “Petition Date”), the FF Fund Debtor filed a

voluntary petition for reorganization (the “FF Fund Bankruptcy Case”) under Chapter 11 of the

Bankruptcy Code in the United States Bankruptcy Court for the Southern District of Florida (the

“Bankruptcy Court”).

       2.     On January 24, 2020, the F5 Debtor filed a voluntary petition for reorganization

(the “F5 Bankruptcy Case”) under Chapter 11 of the Bankruptcy Code in the Bankruptcy Court

(the FF Fund Bankruptcy Case and the F5 Bankruptcy Case are collectively referred to herein as

the “Bankruptcy Cases”).

       3.     On February 1, 2021, the Debtors filed the Debtors’ First Amended Chapter 11

Plan of Reorganization Proposed by FF Fund I, L.P. [ECF No. 246] and First Amended Chapter

11 Plan of Reorganization Proposed by F5 Business Investment Partners, LLC [ECF No. 247].

       4.     On February 16, 2021, the Bankruptcy Court entered its Amended Order (I)

Approving Second Amended Disclosure Statement; (II) Setting Hearing on Confirmation of the

Plan; (III) Setting Hearing on Fee Applications; (IV) Setting Various Deadlines; and (V)

Describing Plan Proponent’s Obligations [ECF No. 262] (the Disclosure Statement Order”),

which Disclosure Statement Order approved the Second Amended Disclosure Statement for First

Amended Chapter 11 Plans of Reorganization Proposed by FF Fund I, L.P. and F5 Business

Investment Partners, LLC [ECF No. 256] (the “Disclosure Statement”).

       5.     On May 18, 2021, the Debtors filed (i) a Second Amended Chapter 11 Plan of

Reorganization Proposed by FF Fund I, L.P. [ECF No. 468], and (ii) a Second Amended Chapter

11 Plan of Reorganization Proposed by F5 Business Investment Partners, LLC [ECF No. 469]



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(collectively, the “Second Amended Plans”).

          6.    On June 4, 2021, the Bankruptcy Court entered its Order Confirming the Second

Amended Plans [ECF No. 494] (the “Confirmation Order”).

          7.    Pursuant to the Second Amended Plans and the Confirmation Order, (i) the FF

Fund Liquidating Trust and the F5 Liquidating Trust were created and all property of the

respective bankruptcy estates of the FF Fund Debtor and the F5 Debtor was transferred to the FF

Fund Liquidating Trust and the F5 Liquidating Trust respectively (collectively, the “Liquidating

Trusts”), and (ii) the Trustee was appointed as the liquidating trustee for each of the Liquidating

Trusts.

          8.    Pursuant to the terms of the Second Amended Plans and the Confirmation Order,

the Trustee has been vested with the right to investigate, commence and/or prosecute any and all

claims and causes of action that exist or may exist in favor of the FF Fund Debtor and the F5

Debtor, the Liquidating Trusts and their respective bankruptcy estates against any person or

entity under any applicable state law, federal law and/or bankruptcy law, whether statutory

and/or common law, including, without limitation, to recover transfers of monies or property

under Chapter 5 of the Bankruptcy Code.

          9.    Plaintiff SONEET R. KAPILA is the Trustee of the FF Fund Liquidating Trust

and the F5 Liquidating Trust, with his principal place of business in Fort Lauderdale, Florida.

          10.   Defendant KLOE KORBY is an individual residing in New York, New York and,

upon information and belief, is the former girlfriend of Andrew Franzone.

          11.   ANDREW T. FRANZONE, LLC (“ATF”) is a New York limited liability

company with a principal place of business in Miami, Florida. Upon information and belief,

ATF is wholly owned by Mr. Franzone or one of his related companies. Upon information and



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belief, as of the Petition Date and at all relevant times herein, ATF had no legitimate business

purpose or hard assets. Further, in the four years prior to the Petition Date, the FF Fund Debtor

transferred in excess of $15 million to ATF with the intent to hinder, delay or defraud its

creditors and Limited Partners.

         12.     This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.

§§ 157(a) and 1334(b).

         13.     This is a core proceeding pursuant to 28 U.S.C. §§ 157(b)(2)(A), (H) and (O).

         14.     The Trustee consents to the entry of final orders and judgments by the Bankruptcy

Court.

         15.     Venue is proper in this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

                                    FACTS SUPPORTING THE CLAIMS

         A.      History1 of the FF Fund Debtor and the F5 Debtor

         16.     The FF Fund Debtor was a pooled investment vehicle with its principal place of

business in Miami, Florida. A pooled investment vehicle is one in which funds from multiple

investors are pooled for purposes of making investments and returns from such investments are

distributed to those investors based on their respective capital contributions. As of the Petition

Date, the FF Fund Debtor had 113 limited partners (collectively, the “Limited Partners”).

         17.     Mr. Franzone formed the F5 Debtor on April 22, 2014, under the name Farrell

Franzone Investments, LLC, as a single-member Delaware limited liability company with its

principal place of business in New York, New York. On March 15, 2016, Mr. Franzone changed

the entity’s name to F5 Business Investment Partners, LLC.


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 Prior to the Petition Date, the FF Fund Debtor was controlled by Andrew Franzone, who is the managing member
of FF Management. Since their respective Petition Dates, through and including the Effective Date of the Second
Amended Plans, Soneet R. Kapila, as chief restructuring officer, controlled the Debtors.



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       18.     Mr. Franzone owned 100% of the membership interests in the F5 Debtor from its

inception. Mr. Franzone was also the manager of the F5 Debtor.

       19.     In December 2014, the FF Fund Debtor issued a private placement memorandum

(the “PPM”) seeking to raise $25 million and offered limited partnership interests in return.

       20.     Under the Third Amended and Restated Limited Partnership Agreement, dated

December 12, 2013, for the FF Fund Debtor (the “Limited Partnership Agreement”), Limited

Partners had the right to make partial or complete withdrawals from their respective capital

accounts. In order to do so, a Limited Partner was required to provide a redemption notice to FF

Fund Management, LLC (“FF Management”) (as the general partner) setting forth the amounts

the Limited Partner sought to withdraw (each a “Redemption Notice”). Once a Redemption

Notice has been issued under the Limited Partnership Agreement by a Limited Partner, the FF

Fund Debtor has an obligation to honor such redemption, which obligation would become a debt

of the FF Fund Debtor.

       21.     Upon information and belief, several Limited Partners either issued or attempted

to issue Redemption Notices in the latter part of 2018 through and into 2019.

       22.     On July 17, 2019, the largest Limited Partner in the FF Fund Debtor, the Linden

West Trust (the “LW Trust”) through Dennis S. Hersch (“Hersch”) as trustee, which had

invested $27.5 million into the FF Fund Debtor, issued a request to the FF Fund Debtor for the

books and records of the FF Fund Debtor.

       23.     On July 25, 2019, the FF Fund Debtor, through its general partner FF

Management, announced a wind down of the FF Fund Debtor and started the wind down

process, a process that the FF Fund Debtor projected would take approximately three years due

to the illiquid nature of many of the investments in the FF Fund Debtor’s portfolio.



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        24.      Shortly thereafter, on August 6, 2019, Hersch, as trustee of the LW Trust, brought

an action against the FF Fund Debtor in Delaware Chancery Court seeking, among other things,

dissolution of the FF Fund Debtor and the appointment of a liquidating agent/trustee over the FF

Fund Debtor.

        25.      The LW Trust also issued its own Redemption Notice seeking the return of its

capital account.

        26.      As a result of the Delaware litigation filed by Hersch, on September 24, 2019, the

FF Fund Debtor, through its general partner FF Management, retained the services of Soneet R.

Kapila to act as the chief restructuring officer for the FF Fund Debtor (the “CRO”). Among

other things, Mr. Kapila, as an independent CRO, was to take control over the FF Fund Debtor

and its assets, and preserve and attempt to monetize the value of such assets. On that same day,

Mr. Kapila caused the FF Fund Debtor to file its chapter 11 bankruptcy proceedings herein.

        27.      On Friday, April 23, 2021, the Securities and Exchange Commission (the “SEC”)

sued Mr. Franzone and FF Management alleging various counts of securities fraud and aiding

and abetting securities fraud (Case No. 1:21-cv-03619, District Court, Southern District of New

York) (the “Civil Action”).2 In addition, on April 20, 2021, the United States of America filed a

sealed complaint against Mr. Franzone alleging securities fraud and wire fraud (Case No. 21

MAG 4261, District Court, Southern District of New York) (the “Criminal Action”).3

        28.      On April 23, 2021, Mr. Franzone was arrested in connection with the Criminal

Action and is awaiting trial. Upon information and belief, the Civil Action is stayed pending the

outcome of the Criminal Action.

2
  The Trustee incorporates by reference the allegations contained in the Civil Action and asserts them herein upon
information and belief.
3
  The Trustee incorporates by reference the allegations contained in the Criminal Action and asserts them herein
upon information and belief.



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      B.     The FF Fund Debtor and the F5 Debtor Hinder, Delay and Defraud their its
Creditors and the Limited Partners.

       29.     As set forth above, Mr. Kapila’s investigation revealed that the FF Fund Debtor

did not actually own the membership interests in the F5 Debtor, but rather the F5 Debtor was

owned directly or indirectly by Mr. Franzone from its inception. Upon information and belief,

prior to the Petition Date, the FF Fund Debtor, through Mr. Franzone, falsely told the outside

administrator of the FF Fund Debtor that the F5 Debtor was wholly-owned by the FF Fund

Debtor. In addition, upon information and belief, the FF Fund Debtor made no disclosure to the

FF Fund Debtor’s Limited Partners that Mr. Franzone was the F5 Debtor’s true owner.

       30.     It was not until November 12, 2019 that Mr. Franzone, pursuant to a request from

Mr. Kapila as CRO, transferred his 100% membership interest in the F5 Debtor to the FF Fund

Debtor. The FF Fund Debtor had no membership interest in the F5 Debtor until that time.

       31.     Prior to the Petition Date, the FF Fund Debtor transferred in excess of $29.0

million to the F5 Debtor. At the time of those transfers, the F5 Debtor was wholly owned by Mr.

Franzone and not by the FF Fund Debtor. Thereafter, at Mr. Franzone’s direction, the F5 Debtor

used approximately $29.0 million of the funds from the FF Fund Debtor to procure and hold

many of the illiquid investments described in the Disclosure Statement.

       32.     Because the F5 Debtor was not owned by the FF Fund Debtor at the time of the

above transfers to the F5 Debtor, such transfers could not have constituted a capital contribution

by the FF Fund Debtor to the F5 Debtor. Rather, such transfers necessarily gave rise to a debt or

an obligation owed by the F5 Debtor to repay such monies to the FF Fund Debtor.

       33.     In addition and as a result of the above transfers to the F5 Debtor and the F5

Debtor’s investments in illiquid investments, at all times relevant hereto, neither the FF Fund




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Debtor nor the F5 Debtor had a sufficient or reasonable level of capital to operate their respective

business and importantly to meet their obligations that arose and were reasonably expected to

arise, including under the Redemption Notices in respect of the FDF Fund Debtor and any capital

calls for the various illiquid investments held by the F5 Debtor. Still further, even if the FF Fund

Debtor owned the equity interests in the F5 Debtor (which it did not), the fact that the F5 Debtor

had invested a substantial portion of its cash (all acquired from the FF Fund Debtor) into illiquid

investments meant that there was no reliable source of liquidity that could be available to the FF

Fund Debtor or the F5 Debtor to meet their obligations when they came due, including as a result

of the Redemption Notices and the capital calls. In fact, when the Redemption Notices were

issued to the FF Fund Debtor in late 2018 and through 2019, they caused the FF Fund Debtor to

commence a wind-down and to file the within chapter 11 bankruptcy.

        34.      Immediately after the Petition Date, the CRO began the process of reconstructing

the financial records for the FF Fund Debtor, including in respect of transfers to the Insider

Defendants4 and other related companies. The CRO found that the FF Fund Debtor transferred a

significant amount of money (i) to the F5 Debtor (then owned by Mr. Franzone) and used by the

F5 Debtor to invest in risky illiquid investments as disclosed in the Disclosure Statement, (ii) to

the Insider Defendants with no value received in return, (iii) to a number of third parties who

purported to provide services to the FF Fund Debtor and/or the F5 Debtor, including Defendant

Korby, and/or (iv) directly and indirectly to Mr. Franzone and/or his related companies.

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  Simultaneously herewith, the Trustee is filing litigation against F1 GENERAL TRADING PARTNERS, L.P., a
Delaware Limited Partnership, F3 REAL ESTATE PARTNERS, LLC, a Florida Limited Liability Company, F7
GROUP OPERATING PARTNERS, LLC, a Florida Limited Liability Company, FF FUND MANAGEMENT,
LLC, a Florida Limited Liability Company, FF TRADING MANAGEMENT, LLC, a Delaware Limited Liability
Company, FF RESERVE ACCOUNT, LLC f/k/a FARRELL FRANZONE RESERVE ACCOUNT, LLC, a
Delaware Limited Liability Company and ANDREW T FRANZONE, LLC, a New York Limited Liability
Company (collectively, the “Insider Defendants”) seeking the recovery of millions of dollars in direct and indirect
transfers from the FF Fund Debtor to the Insider Defendants (the “Insider Litigation”).




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       35.    Prior to the Petition Date, millions of dollars were transferred from the FF Fund

Debtor to the Insider Defendants for no legitimate business purpose and for no value in return.

Upon information and belief, such transfers were made to create the illusion of an operating and

viable business enterprise, while substantial funds were being diverted by the Insider Defendants

to pay, among other things, inflated management fees to entities controlled by Mr. Franzone, to

allow Mr. Franzone to pursue his personal endeavors, including a car racing team and transfers

to Defendant Korby for no legitimate business purpose.

       36.    In the four years prior to the Petition Date, the FF Fund Debtor made transfers,

via ATF, to Defendant Korby’s personal bank account in the amount of $267,800. Further, in

the four years prior to its Petition Date, the F5 Debtor made direct transfers to Ms. Korby’s

personal bank account in the amount of $289,000. Upon information and belief, Ms. Korby was

purportedly engaged in the business of delivering luxury pet gift baskets, however, there is no

documentation of an agreement between the FF Fund Debtor, ATF or the F5 Debtor related to

the purported investment in her company, LDT Online. Upon information and belief, Ms. Korby

provided no discernable benefit to either the FF Fund Debtor, ATF or the F5 Debtor.

       37.    Upon information and belief, including as alleged in the SEC Action and the

Criminal Action, the FF Fund Debtor substantially and artificially inflated the values of the

various investments owned and controlled by the F5 Debtor, which in turn caused the capital

account balances of the Limited Partners likewise to be artificially inflated. The inflated

investment values and capital accounts enabled FF Management to charge the FF Fund Debtor

excessive management fees, which excessive fees were transferred from the FF Fund Debtor to

FF Management.

       38.    Under the Limited Partnership Agreement for the FF Fund Debtor, FF



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Management, as the general partner, was entitled to receive an annual management fee of

between 2% to 3% of the Limited Partners’ capital account balances. The 2014 PPM of the FF

Fund Debtor also provided that FF Management was entitled to receive an annual performance

fee of 20% of the profits shown in the Limited Partners’ capital account balances. Prior to the

Petition Date, the FF Fund Debtor transferred over $3.7 million in management fees and

approximately $3.3 million in performance fees to FF Management. Those fees, however, were

excessive and inflated because they were based on artificially inflated values of the investments

and Limited Partner capital accounts.         The transfers of excessive management fees to FF

Management were done with the actual intent of the FF Fund Debtor to hinder, delay and/or

defraud its creditors and Limited Partners.

       39.      Prior to the Petition Date, the FF Fund Debtor engaged the services of RSM

McGladrey (“RSM”) ostensibly for the purpose of preparing audited financial statements for the

FF Fund Debtor. However, the only auditors’ report that was issued was for 2014 and that was

not issued until March 2018. No other audits were ever prepared. Upon information and belief,

the FF Fund Debtor used the engagement of RSM and the continued promise of audited financial

statements to delay the discovery of inflated investment values and conceal the transfers of

millions of dollars to the Insider Defendants.

      C.     Direct and Indirect Fraudulent Transfers from the FF Fund Debtor and the
F5 Debtor to Korby

             a. The Direct Fraudulent Transfers.

       40.      During the two years prior to the Petition Date, the F5 Debtor transferred

$261,000 to Defendant Korby (collectively, the “Korby Two Year Transfers”). A schedule

detailing the Korby Two Year Transfers is annexed hereto as Exhibit “A.”




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        41.      During the four years prior to the Petition Date, the F5 Debtor transferred

$289,000 to Defendant Korby (collectively, the “Korby Four Year Transfers”). A schedule

detailing the Korby Four Year Transfers is annexed hereto as Exhibit “B.”

              b. The Subsequent Fraudulent Transfers

        42.      During the two years prior to the Petition Date, the FF Fund Debtor transferred

$1,577,200 to Insider Defendant Andrew T. Franzone, LLC (collectively, the “ATF Two Year

Transfers”). A schedule detailing the ATF Two Year Transfers is annexed hereto as Exhibit “I”

in the Insider Litigation.

        43.      During the four years prior to the Petition Date, the FF Fund Debtor transferred

$1,593,200 to Insider Defendant Andrew T. Franzone, LLC (collectively, the “ATF Four Year

Transfers”). A schedule detailing the ATF Four Year Transfers is annexed hereto as Exhibit “J”

in the Insider Litigation.

        44.      The ATF Two Year Transfers and the ATF Four Year Transfers shall be referred

to herein, collectively, as the “ATF Transfers.”

        45.      During the four years prior to the Petition Date, Insider Defendant ATF

transferred $267,800 to Defendant Korby (collectively, the “Korby Subsequent Transfers”). A

schedule detailing the Korby Subsequent Transfers is annexed hereto as Exhibit “C.”

        46.      Based on the facts set forth above, each of the ATF Transfers was made by the FF

Fund Debtor to Insider Defendant Andrew T. Franzone, LLC with actual intent to hinder, delay

and/or defraud the creditors and equity interest holders of the FF Fund Debtor.

        47.      Based on the facts set forth above, each of the ATF Transfers was made by the FF

Fund Debtor to Insider Defendant Andrew T. Franzone, LLC at a time when the FF Fund Debtor

was engaged in a business or about to engage in a business for which the property remaining



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with the FF Fund Debtor was an unreasonably small capital, including to meet its obligations

under the Redemption Notices that were given or could reasonably be expected to be given by

the Limited Partners.

        48.     Each of the ATF Transfers was made without the FF Fund Debtor receiving any

value, including reasonably equivalent value, in return from the initial transferee thereof.

        49.     Each of the ATF Transfers was made to an “insider” of the FF Fund Debtor as

that term is defined in Section 101 of the Bankruptcy Code.

        50.     Each of the Korby Subsequent Transfers was made by the FF Fund Debtor to

ATF as the initial transferee and then to Defendant Korby as an immediate or mediate transferee

of the initial transferee.

        51.     Each of the Korby Subsequent Transfers was made without the FF Fund Debtor

or the initial transferee thereof receiving any value from immediate or mediate transferee.

        52.     Korby, as the recipient of each Korby Subsequent Transfer, did not act in good

faith in connection with each Korby Subsequent Transfer and, in fact, had knowledge of the

voidability of each such Korby Subsequent Transfer, including because Korby was the former

girlfriend of Mr. Franzone.

        53.     All conditions precedent to the institution of this action have been performed,

have occurred, have been waived or have otherwise been excused.

                                                 COUNT I
               AVOIDANCE AND RECOVERY OF FRAUDULENT TRANSFERS
              PURSUANT TO SECTION 548(a)(1)(A) AND/OR 548(a)(1)(B) OF THE
                              BANKRUPTCY CODE

                                           (Against Kloe Korby)




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          54.    Plaintiff re-states and re-alleges paragraphs 1 through 53, as if fully set forth

herein.

          55.    Pursuant to 11 U.S.C. §548(a)(1)(A), 548(a)(1)(B) and 11 U.S.C. §550, a trustee

may avoid any transfer of an interest of the debtor in property, or any obligation incurred by the

debtor, that was made or incurred on or within 2 years (under Section 548 of the Bankruptcy

Code) before the date of the filing of the petition if the debtor voluntarily or involuntarily –

                  (A) made such transfer or incurred such obligation with actual
                  intent to hinder, delay, or defraud any entity to which the debtor
                  was or became, on or after the date that such transfer was made or
                  such obligation was incurred, indebted; or

                 (B)    (i) received less than a reasonably equivalent value in
                        exchange for such transfer or obligation; and
                        (ii)    (I) was insolvent on the date that such transfer was
                                made or such obligation was incurred, or became
                                insolvent as a result of such transfer or obligation;
                                (II) was engaged in business or a transaction, or was
                                about to engage in business or a transaction, for
                                which any property remaining with the debtor was
                                an unreasonably small capital; or
                                (III) intended to incur, or believed that the debtor
                                would incur, debts that would be beyond the
                                debtor’s ability to pay as such debts matured

          56.    Pursuant to the Second Amended Plans and the Confirmation Order, the Trustee

has been right and power to prosecute the claims and causes of action contained herein.

          57.    Pursuant to 11 U.S.C. §550, in a fraudulent transfer action commenced under

Section 548 of the Bankruptcy Code, the trustee may recover, for the benefit of the estate, the

property transferred, or, if the Court so orders, the value of such property, from – (1) the initial

transferee of such transfer or the entity for whose benefit such transfer was made; and (2) any

immediate or mediate transferee of such initial transferee, i.e., any and all subsequent transferees.




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        58.     The Korby Two Year Transfers each occurred within two (2) years of the

Petition Date and constituted transfers of an interest in property of the F5 Debtor as set forth

herein and are avoidable under 11 U.S.C. §548(a)(1)(A) as actual intent fraudulent transfers

and/or 11 U.S.C. §548(a)(1)(B) as constructive fraudulent transfers.

        59.    Korby was the initial transferee or the entity for whose benefit the Korby Two

Year Transfers were made, and as a result, the Trustee is entitled to avoid and recover the Korby

Two Year Transfers from Korby under 11 U.S.C. §§548(a)(1)(A), and 550 as actual intent

fraudulent transfers and/or 11 U.S.C. §§548(a)(1)(B) and 550 as constructive fraudulent

transfers.

        60.    As set forth herein, each of the Korby Two Year Transfers was made by the F5

Debtor with the actual intent to hinder and delay, and to continue to hinder and delay, its

creditors and the creditors and Limited Partners of the FF Fund Debtor.

        61.    Moreover, each of the following “badges of fraud” established by the Eleventh

Circuit Court of Appeals in In re XYZ Options, Inc., 154 F.3d 1262 (11th Cir. 1998) exists in the

present case and establishes that the F5 Debtor had the actual intent to hinder and/or delay its

creditors and the creditors and Limited Partners of the FF Fund Debtor in connection with the

Korby Two Year Transfers:

               a.     The transfer was disclosed or concealed. The Korby Two Year Transfers
               were not disclosed to the creditors of the F5 Debtor or the creditors and/or
               Limited Partners of the FF Fund Debtor.

               b.     The value of the consideration received by the debtor was reasonably
               equivalent to the value of the asset transferred. The F5 Debtor did not receive any
               value, including reasonably equivalent value, in exchange for the Korby Two
               Year Transfers.

               c.     The debtor had an unreasonably small capital for its business. The F5
               Debtor was engaged in business or was about to engage in business for which any



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               property remaining with the F5 Debtor was an unreasonably small capital at the
               time the Korby Two Year Transfers were made.

               d.     The transfers were made to a personal bank account. Each of the Korby
               Two Year Transfers were made to the personal bank account of Ms. Korby for no
               legitimate business purpose.


       62.     The F5 Debtor did not receive reasonably equivalent value in exchange for the

Korby Two Year Transfers.

       63.     At the time of the Korby Two Year Transfers, the F5 Debtor was engaged or was

about to engage in a business or transaction for which the remaining assets of the F5 Debtor were

unreasonably small in relation to the business or transaction, including because of capital calls

being made to it from its various illiquid investments.

       64.     As set forth in the docket and proofs of claim filed in this Bankruptcy Cases, there

was at all relevant times an unsecured creditor with standing to avoid the Korby Two Year

Transfers.

       65.     Korby, the girlfriend of Mr. Franzone, the pre-petition owner of the F5 Debtor, at

all relevant times, was fully aware of the F5 Debtor’s dire financial condition and

misappropriation of funds, and therefore Korby was not a good faith transferee.

       66.     As a result, pursuant to 11 U.S.C. §550(a), the Trustee is entitled to avoid and

recover the Korby Two Year Transfers or the value thereof for the benefit of the F5 Debtor’s

estate from Defendant Korby under 11 U.S.C. §548(a)(1)(A) as actual intent fraudulent transfers

and/or 11 U.S.C. §548(a)(1)(B) as constructive fraudulent transfers.

       67.      Therefore, in accordance with 11 U.S.C. §550(a), the recovery of the Korby Two

Year Transfers or the value thereof for the benefit of the F5 Debtor’s estate is authorized to the




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extent that the Korby Two Year Transfers are avoided under 11 U.S.C. §548(a)(1)(A) and/or 11

U.S.C. §548(a)(1)(B).

       WHEREFORE, Plaintiff, Soneet R. Kapila, as Trustee, demands judgment against

Defendant, Korby (a) determining that each of the Korby Two Year Transfers is fraudulent and

avoidable under 11 U.S.C. §548(a)(1)(A) as actual intent fraudulent transfers and/or 11 U.S.C.

§548(a)(1)(B) as constructive fraudulent transfers; (b) avoiding each of the Korby Two Year

Transfers and entering judgment in favor of Plaintiff against Defendant Korby in the aggregate

amount of the Korby Two Year Transfers or in such amounts as are determined at trial, plus pre-

judgment interest from the date of the Korby Two Year Transfers and post-judgment interest,

and costs of suit, all pursuant to 11 U.S.C. §550; (c) disallowing any claim that Defendant Korby

may have against the FF Fund Debtor’s estate, including without limitation, pursuant to and as

provided in 11 U.S.C. §502(d); and (d) for such other and further relief as the Court deems just

and proper.

                                 COUNT II
       AVOIDANCE AND RECOVERY OF FRAUDULENT TRANSFERS
 PURSUANT TO 11 U.S.C. §544 AND FLA. STAT. §§726.105(1)(a), 726.108 AND 726.109

                                      (Against Kloe Korby)

       68.     The Plaintiff re-alleges paragraphs 1 through 53 as if fully set forth herein.

       69.     Pursuant to 11 U.S.C. §544(b)(1), the “trustee may avoid any transfer of an

interest of the debtor in property … that is voidable under applicable law by a creditor holding an

unsecured claim…. “

       70.     The Plaintiff sues Korby to avoid and recover avoidable transfers pursuant to

Chapter 726, et. seq., Florida Statutes, the Korby Four Year Transfers.

       71.     Section 726.105(1)(a), Florida Statutes, provides:



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       (1) A transfer made or obligation incurred by a debtor is fraudulent as to a
       creditor, whether the creditor’s claim arose before or after the transfer was made
       or the obligation was incurred, if the debtor made the transfer or incurred the
       obligation:

             (a) With actual intent to hinder, delay, or defraud any creditor of the debtor.

       72.     Further, under Chapter 726 of the Florida Statutes, the Plaintiff may recover, for

the benefit of the estate, the value of the property transferred, from – (1) the first transferee of

such transfer or the entity for whose benefit such transfer was made; and (2) any subsequent

transferee of such first transferee. Korby was the initial transferee of the Korby Four Year

Transfers.

       73.     As set forth herein, each of the Korby Four Year Transfers was made by the F5

Debtor with the actual intent to hinder and delay, and to continue to hinder and delay, its

creditors and the creditors and Limited Partners of the FF Fund Debtor.

       74.     Moreover, each of the following “badges of fraud” established by the Eleventh

Circuit Court of Appeals in In re XYZ Options, Inc., 154 F.3d 1262 (11th Cir. 1998) exists in the

present case and establishes that the F5 Debtor had the actual intent to hinder and/or delay its

creditors and the creditors and Limited Partners of the FF Fund Debtor in connection with the

Korby Four Year Transfers:

               e.     The transfer was disclosed or concealed. The Korby Four Year Transfers
               were not disclosed to the creditors of the F5 Debtor or the creditors and/or
               Limited Partners of the FF Fund Debtor.

               f.     The value of the consideration received by the debtor was reasonably
               equivalent to the value of the asset transferred. The F5 Debtor did not receive any
               value, including reasonably equivalent value, in exchange for the Korby Four
               Year Transfers.

               g.     The debtor had an unreasonably small capital for its business. The F5
               Debtor was engaged in business or was about to engage in business for which any
               property remaining with the F5 Debtor was an unreasonably small capital at the



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              time the Korby Four Year Transfers were made, including because of capital calls
              being made to it from its various illiquid investments.

              h.     The transfers were made to a personal bank account. Each of the Korby
              Four Year Transfers were made to the personal bank account of Ms. Korby for no
              legitimate business purpose.


       75.    The Korby Four Year Transfers occurred within four years before the Petition

Date. This action is being brought within the 2 year period provided for in 11 U.S.C. §§108 and

546 and as such is timely as to the Korby Four Year Transfers.

       76.    As set forth in the proofs of claim filed in this Bankruptcy Case, there was at all

relevant times an unsecured creditor with standing to avoid the Korby Four Year Transfers.

       77.    The Korby Four Year Transfers are avoidable under Section 544 of the

Bankruptcy Code and Section 726.105(1)(a) of the Florida Statues.

       78.    As a result of the Korby Four Year Transfers, the F5 Debtor has been damaged

and pursuant to Fla. Stat., §§726.105(1)(a), 726.108 and 726.109, may avoid and recover the

total value of such Korby Four Year Transfers from Korby.

       WHEREFORE, Plaintiff, Soneet R. Kapila, as Trustee, demands judgment against

Defendant, Korby (a) determining that each of the Korby Four Year Transfers is fraudulent and

avoidable under 11 U.S.C. §544 and Section 726.105(1)(a) of the Florida Statues; (b) avoiding

each of the Korby Four Year Transfers and entering judgment in favor of Plaintiff against

Defendant Korby in the aggregate amount of the Korby Four Year Transfers or in such amounts

as are determined at trial, plus pre-judgment interest from the date of the Korby Four Year

Transfers and post-judgment interest, and costs of suit, all pursuant to 11 U.S.C. §550; (c)

disallowing any claim that Defendant Korby may have against the F5 Debtor’s estate, including

without limitation, pursuant to and as provided in 11 U.S.C. §502(d); and (d) for such other and



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further relief as the Court deems just and proper.

                                     COUNT III
             AVOIDANCE AND RECOVERY OF FRAUDULENT TRANSFERS
              PURSUANT TO 11 U.S.C. §544 AND FLA. STAT. §§726.105(1)(b),
                               726.108 AND 726.109

                                      (Against Kloe Korby)

       79.     The Plaintiff re-alleges paragraphs 1 through 53 as if fully set forth herein.

       80.     Pursuant to 11 U.S.C. §544(b)(1), the “trustee may avoid any transfer of an

interest of the debtor in property … that is voidable under applicable law by a creditor holding an

unsecured claim…. “

       81.     The Plaintiff sues Korby to avoid and recover avoidable transfers pursuant to

Chapter 726, et. seq., Florida Statutes, namely the Korby Four Year Transfers.

       82.     Section 726.105(1)(b), Florida Statutes, provides:

               (1)     A transfer made or obligation incurred by a debtor is fraudulent as
       to a creditor, whether the creditor's claim arose before or after the transfer was
       made or the obligation was incurred, if the debtor made the transfer or incurred
       the obligation:

                                                   ***
               (b) without receiving reasonably equivalent value in exchange for the
               transfer or obligation, and the debtor:

                    (1) was engaged or was about to engage in a business or a transaction
                    for which the remaining assets of the debtor were unreasonably small
                    in relation to the business or transaction; or

                    (2) intended to incur, or believed or reasonably should have believed
                    that he would incur, debts beyond his ability to pay as they became
                    due.

       83.     Further, under Chapter 726 of the Florida Statutes, the Plaintiff may recover, for

the benefit of the estate, the value of the property transferred, from – (1) the first transferee of

such transfer or the entity for whose benefit such transfer was made; and (2) any subsequent



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transferee of such first transferee. Korby was the initial transferee of or for whose benefit the

Korby Four Year Transfers were made.

       84.     The Korby Four Year Transfers constituted a transfer made by the F5 Debtor for

which the F5 Debtor did not receive reasonably equivalent value in exchange for the same.

       85.     At the time of the Korby Four Year Transfers, the F5 Debtor had creditors

holding unsecured claims and was engaged or was about to engage in a business or a transaction

for which the remaining assets of the F5 Debtor were unreasonably small in relation to the

business or transaction, including because of capital calls being made to it from its various

illiquid investments.

       86.     The Korby Four Year Transfers are avoidable under Section 544 of the

Bankruptcy Code and Section 726.105(1)(b) of the Florida Statues to the extent they were made

within four years of the Petition Date.

       87.     As set forth in the docket and proofs of claim filed in this Bankruptcy Case, there

was at all relevant times an unsecured creditor with standing to avoid the Korby Four Year

Transfers.

       88.     As a result of the Korby Four Year Transfers, the F5 Debtor has been damaged

and pursuant to Fla. Stat., §§726.105(1)(b), 726.108 and 726.109, may avoid and recover the

total value of such Korby Four Year Transfers from Korby.

       WHEREFORE, Plaintiff, Soneet R. Kapila, as Trustee, demands judgment against

Defendant, Korby (a) determining that each of the Korby Four Year Transfers that were made

within four years of the Petition Date is fraudulent and avoidable under 11 U.S.C. §544 and

Section 726.105(1)(b) of the Florida Statues; (b) avoiding each of such Korby Four Year

Transfers and entering judgment in favor of Plaintiff against Defendant Korby in the aggregate



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amount of such Korby Four Year Transfers or in such amounts as are determined at trial, plus

pre-judgment interest from the date of such Korby Four Year Transfers and post-judgment

interest, and costs of suit, all pursuant to 11 U.S.C. §550; (c) disallowing any claim that

Defendant Korby may have against the F5 Debtor’s estate, including without limitation, pursuant

to and as provided in 11 U.S.C. §502(d); and (d) for such other and further relief as the Court

deems just and proper.

                                            COUNT IV
            RECOVERY OF FRAUDULENT TRANSFERS
  FROM SUBSEQUENT TRANSFEREE PURSUANT TO SECTION 550(A) OF
                   THE BANKRUPTCY CODE

                                       (Against Kloe Korby)

          89.    Plaintiff re-states and re-alleges paragraphs 1 through 53, as if fully set forth

herein.

          90.    Pursuant to 11 U.S.C. §550, in a fraudulent transfer action commenced under

Section 544 or 548 of the Bankruptcy Code, the trustee may recover, for the benefit of the estate,

the property transferred, or, if the Court so orders, the value of such property, from – (1) the

initial transferee of such transfer or the entity for whose benefit such transfer was made; and (2)

any immediate or mediate transferee of such initial transferee, i.e., any and all subsequent

transferees.

          91.     In the Insider Litigation, the Trustee is seeking to avoid the ATF Two Year

Transfers and the ATF Four Year Transfers, and to obtain a judgment against ATF in connection

therewith.

          92.    After receipt of one or more of the ATF Two Year Transfers and the ATF Four

Year Transfers, ATF transferred the Korby Subsequent Transfers to Korby. As such, Korby is




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an immediate or mediate transferee of the Korby Subsequent Transfers as set forth in Section

550(a)(2) of the Bankruptcy Code.

       93.     Korby did not provide any value to the FF Fund Debtor or ATF in respect of the

Korby Subsequent Transfers and did not take the Korby Subsequent Transfers in good faith or

without knowledge of the voidability of the Korby Subsequent Transfers.

       94.      As a result, pursuant to 11 U.S.C. §550(a), if the Trustee avoids the ATF Two

Year Transfers and/or the ATF Four Year Transfers, then the Trustee is entitled to recover the

Korby Subsequent Transfers or the value thereof for the benefit of the FF Fund Debtor’s estate

from Defendant Korby.

       WHEREFORE, Plaintiff, Soneet R. Kapila, as Trustee, demands judgment against

Defendant, Korby (a) entering judgment in favor of Plaintiff against Korby in the aggregate

amount of the Korby Subsequent Transfers or in such amounts as are determined at trial, plus

pre-judgment interest from the date of the Korby Subsequent Transfers and post-judgment

interest, and costs of suit, all pursuant to 11 U.S.C. §550; (b) disallowing any claim that

Defendant Korby may have against the FF Fund Debtor’s estate, including without limitation,

pursuant to and as provided in 11 U.S.C. §502(d); and (c) for such other and further relief as the

Court deems just and proper.

                                     Reservation of Rights

       95.     The Trustee reserves his right to amend this Complaint, upon completion of his

investigation and discovery, to assert any additional claims for relief against the Defendant as

may be warranted under the circumstances allowed by law.




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Respectfully submitted this 24th day of January, 2022.

                                     GENOVESE JOBLOVE & BATTISTA, P.A.
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                                     of the FF Fund Liquidating Trust and the F5
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                                                                                        Exhibit A

                                  F5 Business Investment Partners, LLC
                                             20-10996-LMI
                                  UNITED STATES BANKRUPTCY COURT
                                   SOUTHERN DISTRICT OF FLORIDA
                                            MIAMI DIVISION


   Disbursements from F5 Business Investment Partners LLC to Kloe Kirby
       For the Period from January 24, 2018 through January 24, 2020

Source: Bank records for bank and brokerage accounts
Petition Date: January 24, 2020


                  Statement
  Bank ID #                               Payee / Received From                    Disbursements
                 Clearing Date
SUN-9410            05/07/19   Kloe Korby                                          $      250,000.00
SUN-9410            01/10/19   Kloe Korby                                                   1,000.00
SUN-9410            12/10/18   Kloe Korby                                                  10,000.00
                                                                                   $      261,000.00




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                                                                                        Exhibit B

                                  F5 Business Investment Partners, LLC
                                             20-10996-LMI
                                  UNITED STATES BANKRUPTCY COURT
                                   SOUTHERN DISTRICT OF FLORIDA
                                            MIAMI DIVISION


   Disbursements from F5 Business Investment Partners LLC to Kloe Korby
        For the Period from January 24, 2016 through January 24, 2020

Source: Bank records for bank and brokerage accounts
Petition Date: January 24, 2020


                  Statement
  Bank ID #                               Payee / Received From                    Disbursements
                 Clearing Date
SUN-9410            05/07/19   Kloe Korby                                          $      250,000.00
SUN-9410            01/10/19   Kloe Korby                                                   1,000.00
SUN-9410            12/10/18   Kloe Korby                                                  10,000.00
SUN-9410            12/15/17   Kloe Korby                                                   1,000.00
SUN-9410            11/28/17   Kloe Korby                                                   1,000.00
SUN-9410            11/17/17   Kloe Korby                                                   1,000.00
SUN-9410            09/18/17   Kloe Korby                                                  10,000.00
SUN-9410            08/18/17   Kloe Korby                                                  10,000.00
SUN-9410            08/11/17   Kloe Korby                                                   5,000.00
                                                          Total 4 Year Transfers $        289,000.00




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                                                                                        Exhibit C

                                            FF Fund I, L.P.
                                             19-22744-LMI
                                  UNITED STATES BANKRUPTCY COURT
                                   SOUTHERN DISTRICT OF FLORIDA
                                            MIAMI DIVISION


           Disbursements from Andrew T Franzone LLC to Kloe Korby
          For the Period from September 24, 2015 to September 24, 2019

Source: Bank records for bank and brokerage accounts
Petition Date: January 24, 2020


                  Statement
  Bank ID #                               Payee / Received From                    Disbursements
                 Clearing Date
SUN-9329            05/07/19   Kloe Korby                                          $      150,000.00
SUN-9329            04/22/19   Kloe Korby                                                  50,000.00
SUN-9329            04/09/19   Kloe Korby                                                   2,000.00
SUN-9329            03/26/19   Kloe Korby                                                   3,000.00
SUN-9329            03/18/19   Kloe Korby                                                     500.00
SUN-9329            03/11/19   Kloe Korby                                                   1,000.00
SUN-9063            02/20/19   Kloe Korby                                                   1,000.00
SUN-9329            02/06/19   Kloe Korby                                                   1,000.00
SUN-9329            01/29/19   Kloe Korby                                                   1,000.00
SUN-9329            11/26/18   Kloe Korby                                                   2,000.00
SUN-9329            09/14/18   Kloe Korby                                                     500.00
SUN-9329            08/10/18   Kloe Korby                                                   2,000.00
SUN-9329            06/26/18   Kloe Korby                                                     800.00
SUN-9329            06/05/18   Kloe Korby                                                     500.00
SUN-9329            04/30/18   Kloe Korby                                                   1,000.00
SUN-9063            04/19/18   Kloe Korby                                                   1,000.00
SUN-9329            04/10/18   Kloe Korby                                                   1,000.00
SUN-9329            03/05/18   Kloe Korby                                                     500.00
SUN-9329            02/23/18   Kloe Korby                                                   1,000.00
SUN-9329            02/07/18   Kloe Korby                                                   1,000.00
SUN-9329            02/06/18   Kloe Korby                                                     400.00
SUN-9329            01/29/18   Kloe Korby                                                     800.00
SUN-9329            01/22/18   Kloe Korby                                                   1,000.00
SUN-9329            01/04/18   Kloe Korby                                                   1,000.00
SUN-9329            08/01/17   Kloe Korby                                                   2,100.00
SUN-9329            07/18/17   Kloe Korby                                                   1,500.00
SUN-9329            06/29/17   Kloe Korby                                                   3,000.00
SUN-9329            06/22/17   Kloe Korby                                                   1,500.00
SUN-9329            05/22/17   Kloe Korby                                                   5,000.00
SUN-9329            03/23/17   Kloe Korby                                                  10,000.00
SUN-9329            03/03/17   Kloe Korby                                                   3,000.00


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                                                                                        Exhibit C

                                            FF Fund I, L.P.
                                             19-22744-LMI
                                  UNITED STATES BANKRUPTCY COURT
                                   SOUTHERN DISTRICT OF FLORIDA
                                            MIAMI DIVISION


           Disbursements from Andrew T Franzone LLC to Kloe Korby
          For the Period from September 24, 2015 to September 24, 2019

Source: Bank records for bank and brokerage accounts
Petition Date: January 24, 2020


                  Statement
  Bank ID #                               Payee / Received From                    Disbursements
                 Clearing Date
SUN-9329            01/10/17   Kloe Korby                                                   2,300.00
SUN-9329            12/22/16   Kloe Korby                                                     600.00
SUN-9329            12/07/16   Kloe Korby                                                   4,000.00
SUN-9329            11/28/16   Kloe Korby                                                   3,000.00
SUN-9329            11/07/16   Kloe Korby                                                   2,000.00
SUN-9329            10/28/16   Kloe Korby                                                   5,000.00
SUN-9063            08/29/16   Kloe Korby                                                     800.00
                                                          Total 4 Year Transfers $        267,800.00




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